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                     UNITED STATES DISTRICT COURT
                       DISTRICT OF CONNECTICUT

ANDREW JAY ILVENTO, JR.,                      Civil Action No.:

      Plaintiff,
                                              COMPLAINT AND DEMAND FOR
vs.                                           JURY TRIAL

MERCANTILE ADJUSTMENT
BUREAU, LLC; and DOES 1
through 10, inclusive,

      Defendant.

                                     COMPLAINT

                              I.     INTRODUCTION

      1.      This is an action for actual and statutory damages brought by Plaintiff,

Andrew Jay Ilvento, Jr., an individual consumer, against Defendant, Mercantile

Adjustment Bureau, LLC, for violations of the Fair Debt Collection Practices Act,

15 U.S.C. § 1692 et seq. (hereinafter ‘‘FDCPA’’), which prohibits debt collectors

from engaging in abusive, deceptive, and unfair practices.

                               II.    JURISDICTION

      2.      Jurisdiction of this court arises under 15 U.S.C. § 1692k(d) and 28

U.S.C. § 1337. Declaratory relief is available pursuant to 28 U.S.C. §§ 2201 and

2202. Venue in this District is proper in that the Defendant transacts business here.



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                                  III.   PARTIES

      3.      Plaintiff, Andrew Jay Ilvento, Jr., is a natural person with a permanent

residence in Groton, New London County, Connecticut 06340.

      4.      Upon information and belief, the Defendant, Mercantile Adjustment

Bureau, LLC, is a corporation engaged in the business of collecting debts in this

state and in several other states, with its principal place of business located at 165

Lawrence Bell Drive, Suite 100, Buffalo, Erie County, New York 14221. The

principal purpose of Defendant is the collection of debts in this state and several

other states, and Defendant regularly attempts to collect debts alleged to be due to

another.

      5.      Defendant is engaged in the collection of debts from consumers using

the mail and telephone. Defendant regularly attempts to collect consumer debts

alleged to be due to another. Defendant is a ‘‘debt collector’’ as defined by the

FDCPA, 15 U.S.C. § 1692a(6).

                         IV.   FACTUAL ALLEGATIONS

      6.      The debt that Defendant is attempting to collect on is an alleged

obligation of a consumer to pay money arising out of a transaction in which the

money, property, insurance or services which are the subject of the transaction are

primarily for personal, family, or household purposes, whether or not such

obligation has been reduced to judgment.


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      7.       Within one (1) year preceding the date of this Complaint, Defendant,

in connection with the collection of the alleged debt, attempted to communicate

with Plaintiff at their place of employment after being informed that this

inconvenienced Plaintiff and/or was conduct prohibited by Plaintiff’s employer.

      8.       Within one (1) year preceding the date of this Complaint and during

the first thirty (30) days of communicating with Plaintiff, Defendant, in connection

with the collection of the alleged debt, demanded payment on the alleged debt

without also informing Plaintiff that Plaintiff could dispute the validity of the

alleged debt and thereby overshadowed the Plaintiff’s right to dispute the validity

of the debt.

      9.       The natural consequences of Defendant’s statements and actions were

to unjustly condemn and vilify Plaintiff for his non-payment of the debt he

allegedly owed.

      10.      The natural consequences of Defendant’s statements and actions were

to produce an unpleasant and/or hostile situation between Defendant and Plaintiff.

      11.      The natural consequences of Defendant’s statements and actions were

to cause Plaintiff mental distress.

      12.      Defendant utilized unfair and unconscionable means to collect on

Plaintiff’s alleged debt, by lying to and misleading Plaintiff.




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                            V.       CLAIM FOR RELIEF

      13.    Plaintiff repeats and realleges and incorporates by reference to the

foregoing paragraphs.

      14.    Defendants violated the FDCPA. Defendants’ violations include, but

are not limited to, the following:

             (a)    Defendant        violated       §1692c(a)(1)   of   the   FDCPA   by

                    communicating at a time or place known or which should be

                    known to be inconvenient to the Plaintiff; and

             (b)    Defendant        violated       §1692c(a)(3)   of   the   FDCPA   by

                    communicating with the Plaintiff at the Plaintiff’s place of

                    employment when the Defendant knew or had reason to know

                    that the Plaintiff’s employer prohibits the Plaintiff from

                    receiving such communication; and

             (c)    Defendant violated §1692d of the FDCPA by engaging in

                    conduct the natural consequences of which is to harass, oppress,

                    or abuse any person in connection with the collection of an

                    alleged debt; and

             (d)    Defendant violated §1692d(2) of the FDCPA by using obscene

                    or profane language or language the natural consequences of




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                   which is to abuse the hearer or reader in connection with the

                   collection of an alleged debt; and

             (e)   Defendant violated §1692e of the FDCPA by using a false,

                   deceptive, or misleading representation or means in connection

                   with the collection of the alleged debt; and

             (f)   Defendant violated §1692e(5) of the FDCPA by threatening to

                   take action that the Defendant does not intend to take and/or the

                   Defendant cannot legally take; and

             (g)   Defendant violated §1692e(10) of the FDCPA by using false

                   representation or deceptive means in connection with the

                   collection the alleged debt; and

             (h)   Defendant violated §1692f of the FDCPA by using unfair or

                   unconscionable means in connection with the collection of an

                   alleged debt; and

             (i)   Defendant violated §1692g(b) of the FDCPA by overshadowing

                   or being inconsistent with the disclosure of the consumer’s

                   rights to dispute the debt or request the name and address of the

                   original creditor.


      15.    Defendant’s acts as described above were done intentionally with the

purpose of coercing Plaintiff to pay the alleged debt.

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      16.     As a result of the foregoing violations of the FDCPA, Defendant is

liable to the Plaintiff, Andrew Jay Ilvento, Jr., for declaratory judgment that

Defendant’s conduct violated the FDCPA, actual damages, statutory damages, and

costs and attorney fees.



WHEREFORE, Plaintiff respectfully requests that judgment be entered against

Defendant, Mercantile Adjustment Bureau, LLC, for the following:

      A.      Declaratory judgment that Defendant’s conduct violated the FDCPA.

      B.      Actual damages.

      C.      Statutory damages pursuant to 15 U.S.C. § 1692k.

      D.      Costs and reasonable attorney fees pursuant to 15 U.S.C. § 1692k.

      E.      Awarding Plaintiff any pre-judgment and post-judgment interest as

              may be allowed under the law.

      F.      For such other and further relief as the Court may deem just and

              proper.

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                          DEMAND FOR JURY TRIAL

Please take notice that Plaintiff, Andrew Jay Ilvento, Jr., demands trial by jury in

this action.


Dated: March 7, 2014                    RESPECTFULLY SUBMITTED,


                                        By: /s/ Daniel G. Ruggerio
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